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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No.        2:21-mc-1091-FMO (MARx)                                    Date: November 24, 2021
 Title      Emcyte Corporation v. Apex Biologix, LLC, et al.

 Present: The Honorable: MARGO A. ROCCONI, UNITED STATES MAGISTRATE JUDGE
                   ERICA BUSTOS                                             N/A
                    Deputy Clerk                                   Court Reporter / Recorder

         Attorneys Present for Plaintiffs:  Attorneys Present for Defendants:
                      N/A                                 N/A
 Proceedings: (In Chambers) ORDER TO SHOW CAUSE WHY MOTION TO COMPEL
               SHOULD NOT BE DISMISSED

                                               I.
                                         INTRODUCTION

         Plaintiff Emcyte Corporation (“Plaintiff”) has filed a Motion to Compel Deposition of non-
 party witness Susie Lopez (“Motion to Compel”). ECF Docket No. (“Dkt.”) 1. Plaintiff filed the
 underlying action in the Middle District of Florida against Defendants Apex Biologix, LLC,
 XLMedica, Inc., and Anna Stahl (“Defendants”) asserting claims for trademark infringement, false
 designations of origin, and unfair competition. Id. at 3. Plaintiff contends Ms. Lopez is a crucial
 witness in this action because Defendants state she was responsible for the selection and use of the
 allegedly infringing marks. Id. at 4. Plaintiff seeks an order enforcing a subpoena duces tecum
 issued to Susie Lopez (“Lopez”) commanding her to produce documents and give deposition
 testimony, or, alternatively, an order transferring consideration of this Motion to Compel to the
 United States District Court for the Middle District of Florida. Id. at 3.

         After unsuccessful attempts to schedule Ms. Lopez’s deposition, Plaintiff issued a subpoena
 duces tecum on Ms. Lopez ordering her to appear for a remote deposition on October 7, 2021 and
 to produce certain documents relevant to the parties’ dispute. Id. at 4. Plaintiff served the subpoena
 on counsel for Defendants (“Mr. Williamson”), who represented Ms. Lopez at the time and
 accepted service on her behalf. Id. at 3–4. Ms. Lopez did not appear for her scheduled deposition.
 Id.

         At the deposition, Mr. Williamson clarified that he had not been able to contact Ms. Lopez
 since he received the subpoena from Plaintiff. Dkt. 1-6 at 11–12. Mr. Williamson had learned
 through other avenues that Ms. Lopez was caring for her daughter, who was undergoing a medical
 issue, and that Ms. Lopez had resigned from her independent contractor agreement with XLMedica.
 Id. Mr. Williamson also stated that Defendants would not oppose a Motion to Compel, provided
 that the deposition would be scheduled in a way that would not conflict with Ms. Lopez’ daughter’s
 medical care. Id.

        At some point, Mr. Williamson advised Plaintiff that they were no longer representing Ms.
 Lopez. Dkt. 6 at 4. Plaintiff’s counsel unsuccessfully attempted to contact Ms. Lopez by phone


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 twice at the number provided by Defendants to schedule her deposition. Id. Plaintiff then filed the
 instant Motion to Compel. Id.; Dkt. 1.

        On November 5, this Court ordered Plaintiff to serve a copy of the Motion to Compel and
 the Court’s Order on Ms. Lopez and file a proof of service by November 12, 2021, so that Ms.
 Lopez could either file an opposition or notice of non-opposition to the Motion to Compel. Dkt. 5.

         On November 17, 2021, Plaintiff filed a Motion for Substituted Service of Motion to
 Compel Compliance with Subpoena Duces Tecum to Susie Lopez (“Motion for Substituted
 Service”). Dkt. 6. In the Motion for Substituted Service, Plaintiff explains that counsel attempted
 personal service on Ms. Lopez at her last known residential address, which Defendants had
 provided. Id. at 5. A man answered the door and stated that he does not know who Ms. Lopez is
 and that she didn’t live there. Id. Plaintiff’s investigator attempted to locate an alternative address
 for Ms. Lopez but found only the same address provided by Defendants. Id. Plaintiff contends that
 Ms. Lopez is evading service and therefore requests that this Court authorize service by FedEx,
 UPS, or Certified U.S. mail. Id. at 10.

          As explained below, Plaintiff has failed to present evidence demonstrating that Ms. Lopez
 was properly served with the underlying subpoena. Even if Ms. Lopez had been served with the
 subpoena, Plaintiff has not demonstrated such diligence in attempting personal service as to justify
 alternative service. Accordingly, Plaintiff’s Motion for Substituted Service is DENIED, and
 Plaintiff is ordered to show cause why the Motion to Compel should not be denied for lack of
 jurisdiction.

                                                        II.
                                                    DISCUSSION

         As an initial matter, Plaintiff’s request that this Court authorize alternative service of the
 Motion to Compel on Ms. Lopez is unnecessary. While service of the subpoena is governed by Fed.
 R. of Civ. P. 45, service of the Motion to Compel is governed by Fed. R. of Civ. P. 5, which already
 permits service by mail. 1

        However, as discussed below, Plaintiff has not shown that Ms. Lopez has been properly
 served with the subpoena underlying the Motion to Compel. Accordingly, the Court could construe
 the Motion for Substituted Service to request alternative service for the subpoena, as opposed to the


 1 Local Civil Rule 5-3.2.1, provides that “[i]ndividuals who have not appeared in the case in this Court or who are not
 registered for the CM/ECF System must be served in accordance with [Federal Rules of Civil Procedure Rule] 5[.]”
 C.D. Cal. Local Civil Rule 5-3.2.1. Further, Federal Rule of Civil Procedure 5(b)(2) provides several methods to effect
 service, including by mailing the motion to the last known address of the opposing party, in which case “service is
 complete upon mailing. See Fed. R. Civ. P. 5(b)(2)(C).


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 Motion to Compel. Even so, Plaintiff’s request is DENIED because they have not shown the
 requisite diligence in attempting to personally serve Ms. Lopez with the subpoena.

 A.      PLAINTIFF HAS NOT SHOWN MS. LOPEZ HAS BEEN SERVED WITH THE
         SUBPOENA

         1.        Applicable law

          Rule 45 of the Federal Rules of Civil Procedure governs the issuing and service of
 subpoenas. Fed. R. Civ. P. 45. Rule 45(b)(1) provides that “[s]erving a subpoena requires delivering
 a copy to the named person.” Id. Most courts understand Rule 45(b) to require personal service,
 though the Ninth Circuit has not ruled on the question. See, In re Subpoena to VaughnPerling, No.
 2:19-MC-00083-CAS (EX), 2019 WL 8012372, at *3 (C.D. Cal. Dec. 2, 2019); see also Fujikura Ltd.
 v. Finisar Corp., No. 15-mc-80110-HRL-JSC, 2015 WL 5782351, at *5 (N.D. Cal. Oct. 5, 2015)
 (collecting cases). Furthermore, courts have typically held that service on an attorney is not
 sufficient to compel production of documents or presence at a deposition. See Fujikura, 2015 WL
 5782351, at *6.

          Still, a growing minority of courts allow substitute service of a Rule 45 subpoena if the
 method of service is reasonably calculated to provide timely, fair notice and an opportunity to object
 or file a motion to quash. In re Subpoena to VaughnPerling, 2019 WL 8012372 at *3 (quoting
 Chambers v. Whirlpool Corp., No. 8:11-cv-01733-FMO-JCG, 2016 WL 9451361, at *2 (C.D. Cal.
 Aug. 12, 2016)). These courts are more inclined to grant such alternative service where there is
 evidence of earlier diligence in attempting to effectuate personal service. In re Subpoena to
 VaughnPerling, 2019 WL 8012372 at *3 (quoting Fujikura, 2015 WL 5782351, at *5).

         2.        Analysis

         Plaintiff alleges that Ms. Lopez was properly served with the subpoena because Mr.
 Williamson accepted service on Ms. Lopez’s behalf when he still represented Ms. Lopez. Dkt. 1 at
 6. However, such service was not proper under Fed. R. of Civ. P. 45, because courts have typically
 held that service on an attorney is not sufficient to compel production of documents or presence at
 a deposition. See Fujikura, 2015 WL 5782351, at *6.

          Furthermore, even if the subpoena could have been properly served through Ms. Lopez’s
 attorney or authorized representative, it is not clear that Mr. Williamson had authorization to accept
 service, as would be required. See Cunningham v. Matrix Fin. Servs., LLC, No. 8:20-MC-00065-CJC
 (JDE), 2021 WL 1156851, at * 4 (C.D. Cal. Feb. 4, 2021). Plaintiff provides no evidence showing
 that Mr. Williamson was authorized to accept service on behalf of Ms. Lopez. Additionally, at Ms.
 Lopez’s deposition, Mr. Williamson explained he had lost contact with Ms. Lopez and that she had
 not responded to any communication from their office for several months. Dkt. 1-6 at 11–12. This


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 lack of communication between Ms. Lopez and Mr. Williamson cuts against Plaintiff’s bare
 contention that Ms. Lopez had authorized Mr. Williamson to accept service on her behalf. Indeed,
 Mr. Williamson eventually ceased representing Ms. Lopez altogether.

         Therefore, Plaintiff has not shown Ms. Lopez has been properly served with the subpoena.
 Without proper service of the subpoena, there has been no lack of compliance with the subpoena,
 and Plaintiff’s Motion to Compel would be denied. See Cunningham, 2021 WL 1156851, at *5.

 B.      PLAINTIFF HAS NOT SHOWN THE REQUISITE DILIGENCE IN
         ATTEMPTING TO PERSONALLY SERVE MS. LOPEZ TO JUSTIFY
         ALTERNATIVE SERVICE

         1.        Applicable law

         As noted above, courts have typically held Fed. R. Civ. P. 45 to require personal service. See
 In re Subpoena to VaughnPerling, 2019 WL 8012372, at *3. Still, a growing minority of courts have
 allowed alternative service where the party has shown due diligence in attempting to effectuate
 personal service. Id.

           Courts typically allow alternative service after multiple attempts at personal service, or where
 it is clear the nonparty has actual notice and is evading service. See Chambers, 2016 WL 9451361, at
 *2 (permitting alternative service where personal service was attempted at least three (3) times and
 that nonparty was aware of and had received the subpoena); In re Subpoena to VaughnPerling, 2019
 WL 8012372, at *4 (finding alternative service effective where plaintiffs personally served someone
 they believed was the nonparty and where nonparty’s communication with the parties and the court
 obviously demonstrated he had received the subpoena); Toni Brattin & Co. v. Mosaic Int’l, LLC,
 No. 15-MC-80090-MEJ, 2015 WL 1844056 (N.D. Cal. Apr. 9, 2015) (finding alternative service
 proper after party had attempted personal service at place of business twice and at residence four (4)
 times).

         Furthermore, courts have declined to allow alternative service where alternative methods
 were used before attempting personal service. See Luxottica Grp. S.p.A. v. Liquidity Servs., Inc.,
 No. CV 18-7821-FMO (RAO), 2019 WL 2620727 (C.D. Cal. May 24, 2019) (finding substituted
 service not appropriate where the defendant made no attempt to personally serve subpoenas before
 serving via FedEx delivery); Fujikura, 2015 WL 5782351, at *5 (finding alternative service not
 effective, even where the nonparty had notice of the subpoena, because case involved “one (1)
 improper method of service on the heels of an even more improper method of service).

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         2.        Analysis

          As noted above, here Plaintiff’s original attempt at service through Mr. Williamson was
 improper. Furthermore, given that Ms. Lopez had not been in contact with Mr. Williamson for at
 least a month before the subpoena was issued and has not communicated with Mr. Williamson
 since, it is not clear that she has notice of the subpoena, or that she knew about the deposition she
 failed to appear at.

          Since that attempt, Plaintiff has only attempted personal service once—and that attempt
 involved serving the Motion to Compel, rather than the subpoena itself. Even if Plaintiff had been
 attempting to personally serve Ms. Lopez with the subpoena, as opposed to the Motion to Compel,
 one (1) unsuccessful attempt at personal service is not enough to justify alternative service where it
 is not clear Ms. Lopez has notice of the subpoena. Under these circumstances, alternative service is
 not appropriate.

                                               IV.
                                           CONCLUSION

         As noted above, Fed. R. of Civ. P. 5 does not require personal service of the Motion to
 Compel, and Plaintiff is therefore free to serve the Motion to Compel via mail as requested.
 However, in the absence of evidence verifying that Ms. Lopez was personally served with the
 subpoena, and that she has actual notice of both the subpoena and the Motion to Compel, the Court
 lacks jurisdiction to order compliance. Therefore, Plaintiff is ORDERED TO SHOW CAUSE, in
 writing, by December 14, 2021 why the Motion to Compel should not be denied for failure to
 properly serve the subpoena on Ms. Lopez.

         Plaintiff may comply with this Order by filing either:

         (1) a proof of service showing Ms. Lopez has been personally served with the subpoena; or
         (2) a “Notice of Dismissal” dismissing the Motion to Compel without prejudice.

         IT IS SO ORDERED.
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                                                                    Initials of Preparer         eb




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